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                      IN THE UNITED STATES COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

JOHN DOE                                  §
                                          §
      Plaintiff,                          §
                                          §
v.                                        § Civil Action No. 4:19-cv-00658
                                          §             (Jury)
WILLIAM MARSH RICE                        §
UNIVERSITY d/b/a RICE                     §
UNIVERSITY, EMILY GARZA,                  §
as agent for Rice University, and         §
DONALD OSTDIEK, as agent for              §
Rice University,                          §
                                          §
      Defendants.                         §

             DEFENDANTS’ SUR-REPLY IN OPPOSITION TO
                 PLAINTIFF’S DISCOVERY MOTION

      The four parts of Plaintiff John Doe’s Reply criticize arguments Defendants

don’t make—and misconstrues arguments they do—in opposing his discovery

motion. His counsel also accuse Defendants’ counsel of making misrepresentations

to this Court, accusations that cannot go unaddressed.

                                BACKGROUND

      Doe’s argument for discovery is that by attaching exhibits to their Rule

12(b)(6) motions, Defendants converted them into summary judgment motions.

[Dkt. 19]. Defendants disagree. As their Response explains, the exhibits either are

proper support for the Rule 12(b)(3) venue motions joined with their Rule 12(b)(6)

motions, are part of Doe’s “pleadings” for Rule 12(b)(6) purposes, or both. [Dkt.
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20]. Doe’s Reply [Dkt. 22] attacks Defendants’ counsel more than Defendants’

arguments, but does neither effectively.

                                    ARGUMENT

         Part I of Doe’s Reply—“clarifying” that his discovery motion is not his Rule

12(b)(6) response—refutes an argument Defendants didn’t make. See Reply [Dkt.

22], pp. 1-2. The point Defendants make in their Response is that asking for

discovery to allow pending pleadings to be made “more specific”1 before responding

to Rule 12(b)(6) motions is fundamentally inconsistent with any argument those live

pleadings are already sufficient. See Response, pp. 1-2. It is a fair point, which

Doe’s Reply does not address.

         In Part II Doe accuses Defendants’ counsel of making a misrepresentation to

this Court. See Reply [Dkt. 22], p. 2 (“Defendants’ Response aggressively contends

that Plaintiff seeks to avoid addressing the issue of venue, which is a disappointing,

wholesale misrepresentation to this Court.”). That statement is untrue, and does not

change what Defendants actually said. Rather than repeat it, Defendants refer this

Court to their Response, a cursory review of which refutes Doe’s accusation.

Defendants also note that even in reply, Doe continues ignoring Defendants’ actual



1
  Doe alleges his motion’s purpose is providing “an opportunity for the parties to
make their pleadings more specific.” Motion [Dkt. 19], p. 1 (emphasis added).
Defendants filed motions, not answers. The only party with pleadings needing
specificity is Doe.

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point—the significance of joining Rule 12(b)(3) motions, to which exhibits can and

often must be attached, with Rule 12(b)(6) motions, where “pleadings” means more

than “complaint.” See Response [Dkt. 20], pp. 6-7.

      Part III says nothing meaningful beyond accusing Defendants’ counsel of “yet

another misrepresentation” in asserting his motion cites the wrong law. See Reply

[Dkt. 22], p. 2; see also Response [Dkt. 20], pp. 2-3. That accusation is also untrue,

because Doe’s motion does cite the wrong law. Said another way, in seeking

conversion of Defendants’ 12(b)(6) motions to Rule 56 motions for attaching

exhibits outside his pleadings while omitting binding precedent defining “pleadings”

in this precise context, Doe’s motion does not cite the right law. Neither does his

Reply, which cites and omits the same law as his motion, while making no attempt

to apply the correct standard to any exhibit. Id., pp. 2-3

      Despite adding lengthy quotes from the Garza and Ostdiek declarations, Part

IV repeats arguments from Doe’s motion to which Defendants responded, and which

his Reply does not address. See Response [Dkt. 20], pp. 6-9 (explaining why

Defendants’ extrinsic evidence is proper). Doe does make one new statement—that

“Defendants have specifically requested that this Court consider all extrinsic

documents and material witness declarations in the determination of Defendants’

Rule 12(b)(6) Motion to Dismiss Plaintiff’s claims…”. Reply [Dkt. 22], p. 4.

      Even if it was accurate, Doe’s assertion would be irrelevant. If it is otherwise

proper, and if it chooses to do so, this Court can grant Defendants’ Rule 12(b)(6)
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motions while ignoring anything it believes exceeds the scope of Doe’s pleadings.

See, e.g., Cox v. Kaelin, 577 Fed. Appx. 309-10 (5th Cir. 2014) (statement that

12(b)(6) ruling is based solely on pleadings is credited on appeal as confirming

district court did not rely on things outside the pleadings).

      But Doe’s characterization is not accurate. The footnote cites says:

      Documents central to Doe’s claims but not attached to his complaint
      are attached to the Zansitis, Ostdiek, and Garza declarations filed as
      Exhibits A, B, and C in support of these motions, and incorporated
      herein. See Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594
      F.3d 383, 387 (5th Cir. 2010) (naming exhibits proper in 12(b)(6)
      motions); The Blacklands Railroad v. Ne. Tex. Rail Transp. Dist., Civil
      Action No. 1:19-CV-250, 2019 WL 3613071, slip op. at *2 (E.D. Tex.
      Aug. 5, 2019) (record evidence outside complaint relevant to venue).

Motions to Dismiss [Dkt. 14], p. 2 n.2. Defendants are not “specifically requesting”

that this Court consider any particular document when deciding any particular

motion here, or anywhere else in their Response.




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                                CONCLUSION

      Doe’s accusations of misrepresentations are easily disproved by comparing

Doe’s Reply with what Defendants’ Response actually says. Otherwise, his Reply

contains nothing new. His discovery motion should still be denied.

      DATED: January 16, 2020


                                     Respectfully submitted,

                                     RUSTY HARDIN & ASSOCIATES, LLP


                                      /s/ Terry D. Kernell
                                     Russell Hardin, Jr.
                                     State Bar No. 08972800
                                     rhardin@rustyhardin.com
                                     Terry D. Kernell
                                     State Bar No. 11339020
                                     tkernell@rustyhardin.com
                                     Emily M. Smith
                                     State Bar No. 24083876
                                     esmith@rustyhardin.com

                                     5 Houston Center
                                     1401 McKinney Street, Suite 2250
                                     Houston, Texas 77010
                                     Telephone: (713) 652-9000
                                     Facsimile: (713) 652-9800

                                     ATTORNEYS FOR DEFENDANTS
                                     WILLIAM MARSH RICE UNIVERSITY,
                                     EMILY GARZA, AND DONALD OSTDIEK




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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of January, 2020, I electronically filed the
foregoing with the Clerk of the Court using the Court’s CM/ECF system, and that
all counsel of record are being served this day with a copy of the document via the
CM/ECF system.



                                         /s/ Terry D. Kernell
                                         Terry D. Kernell




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